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     IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT TOF
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     [Ashley Black, Jaffrey Pullins], Plaintiff,

     v. Case No. [1:25-CV-01112]

     [BPM LLP, James Elliott, William J Emerson Heery, Craig Hamm,
     James Lichau, Ayinde Love, Mayweather Boxing & Fitness,
     Mayweather Boxing & Fitness Hollywood California and its
     employees, Victoria Olson, James Williams, Jacquelyn Augustine,
     Joe Coleman,Robert Cole, Floyd Mayweather Jr., Samaria Barnes,
     Isatou Marenah], Defendant.

     PLAINTIFF’S MOTION FOR AUTOMATIC JUDGMENT ON AMENDED COMPLAINT



     Plaintiff [Ashley Black, Jaffrey Pullins], by and through undersigned counsel,
     respectfully submits this Motion for Automatic Judgment on the Amended Complaint and
     states as follows:



     1. Plaintiff filed an Amended Complaint on [DATE: TBD Due to motion for leave] in
     accordance with the Federal Rules of Civil Procedure and applicable court orders.



     2. The Court has not taken timely action to address Plaintiff’s outstanding motions,
     including the pending Objection and procedural issues that remain unresolved.



     3. The Court’s failure to enforce procedural deadlines and provide timely rulings has
     resulted in significant prejudice to Plaintiff’s case and an ongoing violation of Plaintiff’s
     constitutional rights to due process and a fair trial.




     4. Under these circumstances, an automatic judgment in favor of Plaintiff is warranted as a
     remedy for the demonstrated procedural failures and the resulting irreparable harm.
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5. Plaintiff asserts that the continued delay and lack of proper action by the Court
establish grounds for default judgment and the immediate entry of relief sought in the New
Amended Complaint.




WHEREFORE, Plaintiff respectfully requests that this Honorable Court:



a. Enter an automatic judgment in favor of Plaintiff on the New Amended Complaint;

b. Award Plaintiff the full relief requested in the Amended Complaint;

c. Provide any other relief that this Court deems just and proper.

Dated: March 14, 2025

Respectfully submitted,

Ashley Black

Ablack0927@gmail.com

630-366-3911
